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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,                                      Civil Action No. 1:17-cv-01953-RDM

                               Plaintiffs,
                v.
                                                         DECLARATION OF WILLIAM J.
INTERNATIONAL BROTHERHOOD OF                                FLYNN IN SUPPORT OF
TEAMSTERS; INTERNATIONAL                                    PLAINTIFFS’ MOTION
BROTHERHOOD OF TEAMSTERS, AIRLINE                      FOR A PRELIMINARY INJUNCTION
DIVISION; and AIRLINE PROFESSIONALS
ASSOCIATION OF THE INTERNATIONAL
BROTHERHOOD OF TEAMSTERS, LOCAL
UNION NO. 1224,


                               Defendants.


       I, WILLIAM J. FLYNN, declare and state as follows:

       1.       I am the President and Chief Executive Officer of Atlas Air Worldwide Holdings

(“AAWW”). I have personal knowledge of the facts set forth below and if called as a witness in

this matter, I could and would competently testify thereto.

A.     Background Regarding Work Experience

       2.       I have served as the President and Chief Executive Officer of AAWW since June

2006. I also sit on AAWW’s Board of Directors. I have previously held senior management

positions with a number of leading transportation companies. Before joining AAWW, I served

as President and Chief Executive Officer of GeoLogistics Corporation, a leading global freight

forwarding and logistics company. There, I led the company’s turnaround to profitability and

orchestrated its successful sale in 2005.

       3.       From 2000 to 2002, I held several senior positions at CSX Corporation, including

Senior Vice President of Strategic Planning and Senior Vice President at CSX Transportation,



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the company’s railroad unit. Previously, I spent a number of years with Sea-Land Service, Inc.,

a subsidiary of CSX Corporation, where I held a variety of senior management positions in Asia,

Latin America, and the United States. I received a bachelor’s degree from the University of

Rhode Island and a master’s degree from the University of Arizona.

B.     The Company

       4.       Atlas Air, Inc. and Polar Air Cargo Worldwide, Inc. (“Polar”) (collectively,

“Atlas” or the “Company”), subsidiaries of AAWW, are commercial air carriers, headquartered

in Purchase, New York. AAWW also owns two other entities, Southern Air, Inc. (“Southern”),

which it agreed to purchase on January 19, 2016, and Titan Aviation Holdings.

                Overview

       5.       Atlas is a leading and growing cargo airline that manages diverse, complex, and

time-definite global networks. With its diverse fleet of aircraft, Atlas has become the largest air

cargo outsourcer in the world. Atlas serves customers, such as DHL and Amazon, and is also the

largest provider of commercial airlift for the U.S. military. Atlas flies critical provisions and

medical supplies into the military theater and flies troops to assignment and home to their

families in the United States. Because Atlas greatly values its customers and the passengers and

cargo entrusted to it, the Company does everything it can to assure the quality of its services.

       6.       Atlas maintains a valuable portfolio of customers throughout the entire air cargo

supply chain and aviation industry. For example, Atlas works with market leading shippers in

growing industries such as aerospace, retail and fashion, and supports the global transportation

requirements for the Formula 1 races. Atlas’ customers, such as DHL, FedEx, UPS, and

Amazon are also leaders in their respective market segments and are growing in their own right.

Prominent airlines, such as Qantas and Cathay Pacific, leading forwarders, such as Panalpina,




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DHL, and DB Schenker, and established brokers and shippers, such as Boeing and Chapman

Freeborn, all also depend on Atlas’ global network.

       Background and Growth

       7.       Atlas began operations in 1993 flying a single B-747. In 2001, Atlas’ parent,

AAWW, purchased Polar, and in 2007, DHL Express acquired a 49% ownership interest, and a

25% voting interest, in Polar. By 2009, Atlas operated 8 B-747 aircraft and 20 B-747 freighter

aircraft. Today, Atlas flies 44 B-747s and 30 B-767s and, over the last 12 months, has operated

flights to 427 different airports in over 100 different countries.

       8.       When Atlas began doing business, its operations were focused on long-haul,

intercontinental flights using B-747 aircraft for a variety of commercial customers and the U.S.

military. Today, Atlas has expanded its traditional long-haul wide-body intercontinental network

to serve customers such as Amazon, DHL, Qantas, Cathay Pacific, Panalpina, Nippon Cargo

Airlines, Asiana Cargo, and Hong Kong Air Cargo Carrier Limited. Just this August, Atlas

entered into an agreement to operate three 747-400s for Hong Kong Air Cargo, the first of which

started flying in September. This expansion is part of Atlas’ strategic focus on the fast-growing

Chinese and Asian markets, for which Atlas has added five new customers in 2017.

       9.       In addition, since 2011, Atlas has developed a North American domestic market

of highly-scheduled time-definite flying. With a fleet of B-767 aircraft, Atlas serves some of its

most sizeable customers (including DHL and Amazon) in their hub and point to point operations.

Atlas also provides lift for UPS and FedEx. The evolution of e-commerce is transforming the

global supply chain and creating significant new opportunities for Atlas.

       10.      Currently, more than two thirds of Atlas’ aircraft serve express and e-commerce

markets, and that percentage will increase in the next year. Significantly, in 2016, Atlas began




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flying B-767-300 freighter aircraft in order to timely deliver Amazon’s packages (known as

“Prime Air”). By the end of 2018, Atlas is scheduled to fly 20 B-767 freighters for Amazon, up

from the seven aircraft Atlas currently flies for Amazon. Amazon has also been granted warrants

to acquire up to 30% of AAWW’s common shares, on specified terms and conditions.

Therefore, DHL (as described above) and Amazon are not just customers they also are investors.

       11.     The majority of Atlas’ cargo transportation services are provided on a contracted

“ACMI” basis, and in fact, Atlas is the world’s largest ACMI provider. Under an ACMI

contract, customers receive a dedicated aircraft that is crewed, maintained, and insured by Atlas

in exchange for agreed-upon rates and levels of operation, enabling customers―including those

moving express and e-commerce products, flowers and other perishables, and livestock―to take

advantage of Atlas’ scale and efficiencies to expand their presence in the world’s cargo markets.

Atlas is also the largest provider of commercial airlift for the U.S. military.

       12.     Atlas also provides critical airlift to several of the European Union’s Ministries of

Defense as well as to Non-Governmental Organizations, such as the United Nations World Food

Program and the World Health Organization. Atlas’ urgent missions also include delivering life-

saving humanitarian supplies and aid to disaster zones around the world. Most recently, for

example, Atlas deployed a B-747 freighter to transport 110 tons of urgently needed supplies to

San Juan, Puerto Rico, including equipment from the Port Authority of New York and New

Jersey to help rebuild San Juan’s Luis Munoz Marin Airport, along with food and medical

supplies. Atlas also has operated relief missions on behalf of its customers and operated multiple

charters to Puerto Rico, providing lift to deliver all types of necessary equipment and relief

supplies, including telecommunications equipment, pickup trucks, water, and canned goods.




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       13.     Atlas’ customers―particularly those who run scheduled services to meet the

needs of their own customers―rely on their cargo arriving to a requested location at a requested

time. For some large customers like DHL, which operate hubs where packages are quickly

unloaded off of one aircraft, sorted, and re-loaded onto flights transporting them to their final

destination, a late arrival by Atlas may mean that thousands of package are delayed by an entire

day, causing a service failure by DHL to its own customers, and enormous inconvenience to

members of the public.

       14.     During Atlas’ peak season, which runs from September through December, Atlas

sees a significant increase in the volume and time-sensitive nature of the Company’s business,

due to holiday deliveries, imports, and new product releases. Atlas expects this peak season to be

particularly busy due to Atlas’ rising position in the growing express and e-commerce markets.

C.    The Union’s Slowdown Campaign Has Irreparably Harmed Atlas, Its Customers, And The
      Public.

       15.     The slowdown campaign organized and encouraged by International Brotherhood

of Teamsters (“IBT”), International Brotherhood of Teamsters, Airline Division (“IBT Airline

Division”), and Airline Professionals Association of the International Brotherhood of Teamsters,

Local Union No. 1224 (“Local 1224”) (collectively, the “Union”), and the resulting dramatic

changes in pilot behavior, as described in Atlas’ Motion for a Preliminary Injunction, have

tarnished Atlas’ reputation in the marketplace and caused Atlas to lose tremendous customer

goodwill. The slowdown has significantly degraded the Atlas operation, causing flights to arrive

late, sometimes by more than a day, thus disappointing both its customers and the end-user (e.g.,

a consumer expecting an Amazon product on a particular day or the family of a service member

gravely disappointed when their loved one does not make it home on time because a pilot has

disrupted the flight schedule).



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       16.     Since its inception in 1992, Atlas has cultivated a strong brand and reputation by

providing consistent and reliable service to its customers. When Atlas fails to deliver, it disturbs

the operation of its customers, tarnishing their reputations with their own customers. The

operational disruptions caused by the Atlas pilots has translated directly into very unhappy

customers, thereby irreparably harming Atlas’ brand and reputation.

       17.     Before the pilots’ slowdown campaign commenced in February 2016, I rarely

received a customer complaint. In recent months, senior executives from several of our major

customers have contacted me directly on a routine basis to complain about pilots who call in sick

or fatigued, or for some other reason refuse to fly their scheduled assignments. They also have

reported that pilots are causing late departures for reasons that were never previously an issue

(such as objections to on-board meals provided to the pilots).

       18.     As Chief Executive Officer, I also communicate regularly with investors, who

have expressed concern about the Union’s slowdown campaign. Those investors include DHL

and Amazon, two of Atlas’ largest customers.

       19.     Due to the operational issues caused by the pilot slowdown, Atlas is at risk of

losing existing business as well as opportunities for additional business from existing and new

customers. The loss of existing business and business opportunities will be irreparable―once

the customers contract with other carriers due to the perceived unreliability of Atlas, it is highly

unlikely that Atlas could retain those customers or that business in the future. One CEO recently

told me he would have rather spoken to me about potential growth opportunities, but instead he

had to talk to me concerning pilot behavior and its impact on the quality of Atlas’ services. The

pilot slowdown has also placed Atlas’ contract with the U.S. military at risk. Numerous military

flights have been severely delayed causing our troops to arrive late to military zones and without




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the critical supplies they need, putting their lives and missions in jeopardy. Atlas’ contract with

the military requires that it perform at certain minimum levels in order to be eligible for certain

future flying rights. Troops returning home for precious time with their families, many after

lengthy tours in the Middle East and other difficult locations, have been delayed in their travels

sometimes for days. I personally received a number of difficult calls from military spouses who

spoke with me about how they suffered as a result of Atlas’ failure to bring their loved ones

home until days after their scheduled arrival. These extraordinary crew-related delays which

have inconvenienced our service men and women have prompted family members to complain to

Congress and request that Atlas’ contract be terminated.

       20.     In addition to the direct harm caused to troops and their families by the Atlas pilot

slowdown, our customers’ customers – the public – also are harmed. When an Amazon Prime

package is delayed beyond its promised delivery date, the consumer is harmed. When a package

is late to a DHL sort, the business or consumer that receives that package late is harmed. These

consumers are paying a premium for express delivery because the packages contain time-

sensitive items, including lab shipments, medical supplies, and legal documents. And when

Atlas’ customers are unable to keep their promises to their own customers, Atlas’ customers are

more likely to make plans to take their existing or future business elsewhere due to the loss of

goodwill and trust in Atlas’ ability to deliver on time.

D.    Atlas Felt Compelled To Initiate Litigation To Enforce The Union’s Obligation To Cease
      The Slowdown.

       21.     After AAWW announced its agreement to acquire Southern’s parent company in

January 2016, Atlas and Southern informed the Union that the carriers wished to bargain for a

joint CBA to apply to the post-merger combined pilot group, rather than amending the two

separate pilot CBAs. The Union would not agree to this process. During most of 2016, Atlas



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and the Union engaged in negotiations over the appropriate process to bargain for a CBA that

would cover both the Atlas and the Southern pilots. It was during this period of time that the

Union organized and initiated the ongoing slowdown.

       22.     On May 31, 2017, I told the Director of the IBT, Airline Division, that the Atlas

pilots were engaged in an improper slowdown that was disrupting operations, particularly

military missions, and asked the Union to stop the slowdown. The slowdown, however,

continued unabated.

       23.     Atlas believed that the Union would discontinue its illegal slowdown activity

once the parties reached agreement on the process for negotiating a joint CBA. After months of

negotiations, in June 2017, Atlas, the IBT Airline Division, and Local 1224 reached an

agreement that provides for collective bargaining negotiations for a joint CBA―the Negotiation

Process to Facilitate Completion of Collective Bargaining Negotiations (the “Protocol

Agreement”). In the Protocol Agreement, the parties agreed to “conduct all negotiations based

on mutual respect and trust.”

       24.     Since the parties agreed to the Protocol Agreement, however, the slowdown

behavior has not stopped, and in fact the Union has threatened to intensify the slowdown

campaign during Atlas’ upcoming fourth quarter busy season. Indeed, I have reviewed Union

communications to pilots threatening to increase the ongoing, concerted disruptions to Atlas’

operations during the upcoming holidays.

       25.     This is precisely what the Union did during last year’s busy season. In December

2016, in an effort to disrupt Atlas’ operation during the peak flying season, the Union engaged in

a sickout, in which the number of sick calls by B-767 pilots, who fly for Amazon and the

military, among other customers, surged. At the same time, the Union took steps to warn




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Amazon and the public of potential delivery disruptions, including picketing at Amazon’s

headquarters and conducting an online advertising campaign.

       26.     This threat to this years’ peak shipping season puts into question our ability to

keep our promises to our customers. A number of our customers, particularly FedEx and UPS,

augment their use of Atlas’ services during the busy holiday season to handle the huge increase

in the demand for their time-sensitive delivery services. Numerous consumer products

companies depend on the delivery of their products by FedEx, UPS, DHL and others to the end-

consumer in time for the holidays. Atlas cannot wait until its own customers, its customers’

customers, and end-consumers suffer harm from an even further intensified pilot slowdown

disruption at this most critical period of time.

       27.     Therefore, while Atlas did not want to sue the Union, it felt compelled to seek

protection for itself, its customers, the military, and the public by seeking an order requiring the

Union to comply with its existing obligations under the law.

       I declare under penalty of perjury under the laws of the United States that the foregoing

statements are true and correct.

       Executed this 19th day of October, 2017 at New York, N.Y.




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